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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                            )
                                           )
      Plaintiff,                           )
                                           )       CIVIL ACTION
v.                                         )
                                           )       FILE No. _____________________
JUPITER DEVELOPMENT INC.,                  )
                                           )
      Defendant.                           )

                                      COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel,     and    files   this,   his   Complaint    against   Defendant   JUPITER

DEVELOPMENT INC. pursuant to the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part

36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                            JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.


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      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff TIAWAN BRITTON (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

      4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant      JUPITER          DEVELOPMENT         INC.     (hereinafter

“Defendant”) is a Georgia corporation that transacts business in the state of

Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Amin Panjwani, 615 Croydon Avenue, Alpharetta,

Georgia, 30022.




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                           FACTUAL ALLEGATIONS

      9.     On or about February 10, 2021, Plaintiff was a customer at “Chevron

Food Mart,” a business located at 5631 W. Fayetteville Road, College Park,

Georgia 30349.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The two separate contiguous

structures and improvements situated upon said real property shall be referenced

herein as the “South Facility” and “North Facility” (together, the “Facilities”), and

said parcel of real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately twelve (12) miles from the Facilities and

Property.

      12.    Plaintiff’s access to the business(es) located at 5631 W. Fayetteville

Road, College Park, Georgia 30349 (Clayton County Property Appraiser’s parcel

number 13090C A001), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the

Facilities and Property, including those set forth in this Complaint.


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      13.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to his access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    Each Facility is a public accommodation and service establishment.

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      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    Each Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in his capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

his disabilities resulting from the physical barriers to access, dangerous conditions


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and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as


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required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.     Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The Property lacks an accessible route from the public sidewalk

              to the accessible entrances of the Facilities, in violation of

              section 206.2.1 of the 2010 ADAAG standards.

      (ii)    The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (iii)   Accessible parking spaces are not properly located or


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       distributed on the Property, in violation of section 208.3 of the

       2010 ADAAG standards. Specifically, the accessible parking

       space on the Property most proximate to Unit 102 of the North

       Facility is not located on the shortest accessible route to the

       accessible entrances of the North Facility, in violation of

       section 208.3.1 of the 2010 ADAAG standards.

(iv)   The accessible parking space on the Property most proximate to

       Unit 108 of the South Facility is not adequately marked, in

       violation of section 502.1 of the 2010 ADAAG standards.

(v)    The access aisle adjacent to the accessible parking space on the

       Property most proximate to Unit 108 of the South Facility is not

       level due to the presence of a ramp within the boundaries of

       said access aisle, in violation of section 502.4 of the 2010

       ADAAG standards.

(vi)   The side flares of the above-described ramp most proximate to

       Unit 108 of the South Facility have slopes in excess of 1:10

       (one to ten), in violation of section 406.3 of the 2010 ADAAG

       standards.

(vii) Due to a lack of parking stops that encourage vehicles to pull


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       up far enough to block the accessible route to the entrances of

       the Facilities, there are publicly accessible areas of the Property

       having accessible routes with clear widths below the minimum

       36” (thirty-six inches) inches required by section 403.5.1 of the

       2010 ADAAG standards.

(viii) The Property lacks an accessible route connecting accessible

       facilities, accessible elements and/or accessible spaces of the

       Facilities and Property in violation of section 206.2.2 of the

       2010 ADAAG standards.

(ix)   The accessible parking space on the Property most proximate to

       Unit 102 of the South Facility and its associated adjacent access

       aisle are not adequately marked, in violation of section 502.1

       and 502.3 of the 2010 ADAAG standards.

(x)    The access aisle adjacent to the accessible parking space on the

       Property most proximate to Unit 102 of the South Facility is not

       level due to the presence of a ramp within the boundaries of

       said access aisle, in violation of section 502.4 of the 2010

       ADAAG standards.

(xi)   The side flares of the above-described ramp most proximate to


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        Unit 108 of the South Facility have slopes in excess of 1:10

        (one to ten), in violation of section 406.3 of the 2010 ADAAG

        standards.

(xii) There is an excessive vertical rise at the landing of the

        accessible ramp on the Property most proximate to Unit 108 of

        the South Facility, in violation of section 405.7 of the 2010

        ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The “Chevron Food Mart” portion of the South Facility lacks

        restrooms signage that complies with sections 216.8 and 703 of

        the 2010 ADAAG standards.

(ii)    The door to the restroom in the “Chevron Food Mart” portion

        of the South Facility does not provide for permissible minimum

        maneuvering clearance, in violation of section 404.2.4 of the

        2010 ADAAG standards.

(iii)   The hardware on the restroom door in the “Chevron Food

        Mart” portion of the South Facility has operable parts that

        require tight grasping, pinching or twisting of the wrist, in

        violation of section 309.4 of the 2010 ADAAG standards.


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(iv)   The restroom in the “Chevron Food Mart” portion of the South

       Facility has a cabinet-style sink that provides for inadequate

       knee and toe clearance thereunder, in violation of sections 305,

       306 and 606.2 of the 2010 ADAAG standards.

(v)    The hand operated flush control on the commode in the

       restroom in the “Chevron Food Mart” portion of the South

       Facility is not located on the open side of the restroom, in

       violation of section 604.6 of the 2010 ADAAG standards.

(vi)   The rear grab bar adjacent to the commode in the restroom in

       the “Chevron Food Mart” portion of the South Facility is too

       short and does not comply with sections 604.5 and 609.4 of the

       2010 ADAAG standards.

(vii) The soap dispenser in the restroom in the “Chevron Food Mart”

       portion of the South Facility is located outside the prescribed

       vertical reach ranges set forth in section 308.2.1 of the 2010

       ADAAG standards.

(viii) The “K Wings Cafe” portion of the South Facility lacks

       restrooms signage that complies with sections 216.8 and 703 of

       the 2010 ADAAG standards.


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      (ix)   The hardware on the restroom door in the “K Wings Cafe”

             portion of the South Facility has operable parts that require

             tight grasping, pinching or twisting of the wrist, in violation of

             section 309.4 of the 2010 ADAAG standards.

      (x)    The hand operated flush control on the commode in the

             restroom in the “K Wings Cafe” portion of the South Facility is

             not located on the open side of the restroom, in violation of

             section 604.6 of the 2010 ADAAG standards.

      (xi)   The sink in the restroom in the “K Wings Cafe” portion of the

             South Facility has exposed pipes and surfaces that are not

             insulated or configured to protect against skin contact, in

             violation of section 606.5 of the 2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize a disabled accessible parking

space on the Property, more difficult and dangerous for Plaintiff to traverse the

ramps servicing the Property, and more difficult for Plaintiff to utilize the restroom

in the Chevron Food Mart portion of the South Facility.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the


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Facilities and Property.

      33.    Plaintiff requires an inspection of Facilities and Property in order to

determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be


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modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the


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             physical barriers to access and (ii) alter the subject Facilities and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: February 25, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.


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                            /s/Craig J. Ehrlich
                            Craig J. Ehrlich




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